Case 1:22-cv-21592-RLR Document 1 Entered on FLSD Docket 05/23/2022 Page 1 of 6

                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE) PRODUCTS                                           MDL NO. 2924
 LIABILITY LITIGATION                                                          20-MD-2924

                                                          JUDGE ROBIN L. ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE E. REINHART
 _______________________________________/

 THIS DOCUMENT RELATES TO:

 DON MATHEWS SMITH                                             JURY TRIAL DEMANDED

                          SHORT-FORM COMPLAINT – VERSION 2

          The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Amended Master Personal Injury Complaint (“AMPIC”) in In re: Zantac (Ranitidine) Products

 Lability Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint –

 Version 2 as permitted by Pretrial Order No. 31 and as modified by the Court’s Orders regarding

 motions to dismiss [DE 2532, 2512, 2513, 2515, and 2016].

          Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

          Plaintiff(s), by counsel, allege as follows:

                             I. PARTIES, JURISDICTION, AND VENUE

     A.      PLAINTIFF(S)

             1.     Plaintiff(s) Don Mathews Smith (“Plaintiff(s)”) brings this action (check the
                    applicable designation):

                    ☒ On behalf of [himself/herself];
                    ☐ In representative capacity as the ___________, on behalf of the injured
                         party, (Injured Party’s Name) _______________.


             2.     Injured Party is currently a resident and citizen of Estero, Florida and claims
                                                     1
Case 1:22-cv-21592-RLR Document 1 Entered on FLSD Docket 05/23/2022 Page 2 of 6

                  damages as set forth below.


                                                —OR—


                  Decedent died on ______________. At the time of Decedent’s death, Decedent
                  was a resident and citizen of (City, State) ___________________.

     If any party claims loss of consortium,

           3.     ____N/A__________ alleges damages for loss consortium.

           4.    At the time of filing of this Short Form Complaint, Consortium
                 Plaintiff is a citizen and resident of (City, State) ___
                 N/A_______________.

           5.     At the time of the alleged injury occurred, Consortium Plaintiff
                  resided in (City, State) ___ N/A__________.

     B.    DEFENDANT(S)

           6.     Plaintiff(s) name(s) the following Defendants from the Amended Master
                  Personal Injury Complaint in this action:

                  a.   Brand-Name Manufacturers:

                       Boehringer Ingelheim Pharmaceuticals, Inc.
                       Boehringer Ingelheim Corporation
                       Boehringer Ingelheim USA Corporation
                       GlaxoSmithKline LLC
                       GlaxoSmithKline (America) Inc.
                       GlaxoSmithKline plc
                       Pfizer Inc.
                       Sanofi-Aventis U.S. LLC
                       Sanofi US Services Inc.
                       Patheon Manufacturing Services LLC
                       Chattem, Inc.

                  b.   Generic Manufacturers:
                  c.   Distributors and Repackager:
                  d.   Retailers:
                  e.   Others Not Named in the AMPIC:

                       Does 1-100




                                                2
Case 1:22-cv-21592-RLR Document 1 Entered on FLSD Docket 05/23/2022 Page 3 of 6

     C.     JURISDICTION AND VENUE

           7.     Identify the Federal District Court in which Plaintiff(s) would have filed this
                  action in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable,
                  the District Court to which their original action was removed]:

                  United States District Court for the Middle District of Florida

           8.     Jurisdiction is proper upon diversity of citizenship.

                                     II.     PRODUCT USE

           9.     The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                   [X ] By prescription

                   [X] Over the counter

           10.    The Injured Party used Zantac and/or generic ranitidine from approximately
                  (month/year) January 2005 – December 2017.

                                      III. PHYSICAL INJURY

           11.    As a result of the Injured Party’s use of the medications specified above,
                  [he/she] was diagnosed with the following specific type of cancer (check all
                  that apply):

      Check all   Cancer Type                                             Approximate Date of
      that                                                                Diagnosis
      apply
         X        BLADDER CANCER                                           December 24, 2020
                  BREAST CANCER
                  COLORECTAL CANCER
                  ESOPHAGEAL CANCER
                  GASTRIC CANCER
                  KIDNEY CANCER
                  LIVER CANCER
                  LUNG CANCER
                  PANCREATIC CANCER
                  PROSTATE CANCER
                  OTHER CANCER: ___________
                  DEATH (CAUSED BY CANCER)



           12.    Defendants, by their actions or inactions, proximately caused the
                  injuries to Plaintiff(s).


                                                  3
Case 1:22-cv-21592-RLR Document 1 Entered on FLSD Docket 05/23/2022 Page 4 of 6

                                    IV.    CAUSES OF ACTION ASSERTED

              13.         The following Causes of Action asserted in the Amended Master Personal Injury
                          Complaint are asserted against the specified defendants in each class of
                          Defendants enumerated therein, and the allegations with regard thereto are
                          adopted in this Short Form Complaint by reference.

              14.         By checking the appropriate causes of action below, Plaintiff(s) assert these
                          causes of action based upon the law and applicable Sub-Counts of the following
                          state(s):1

   Check       Count                          Cause of Action                    States for which
   all that                                                                      the cause of action
   apply                                                                         was asserted in
                                                                                 the AMPIC
                    I        Strict Products Liability – Failure to Warn through All States and
                             Warnings and Precautions (Against Brand-Name        Territories, Except
                             Manufacturer Defendants)                            DE, IA, MA, NC,
                                                                                 PA, and VA
                    II       Negligence – Failure to Warn through Warnings       All States and
                             and Precautions (Against Brand-Name                 Territories, Except
                             Manufacturer Defendants)                            LA, NJ, OH, and
                                                                                 WA
                    III      Strict Products Liability – Failure to Warn through All States and
                             Proper Expiration Dates (Against Brand-Name and Territories, Except
                             Generic Manufacturer Defendants)                    DE, IA, MA, NC,
                                                                                 PA, and VA
                    IV       Negligence – Failure to Warn through Proper         All States and
                             Expiration Dates (Against Brand-Name and            Territories, Except
                             Generic Manufacturer Defendants)                    LA, NJ, OH, OK,
                                                                                 and WA
                    V        Negligence - Failure to Warn Consumers through      CA, DE, DC, HI,
                             the FDA (Against Brand-Name and Generic             IN, KY, LA, MD,
                             Manufacturer Defendants)                            MA, MN, MO,
                                                                                 NV, NY, OR, and
                                                                                 PA
                    VI       Strict Products Liability – Design Defect Due to    All States and
                             Warnings and Precautions (Against Brand-Name        Territories, Except
                             Manufacturer Defendants)                            DE, IA, MA, NC,
                                                                                 PA, and VA
                VII          Strict Products Liability – Design Defect Due to    All States and
                             Improper Expiration Dates (Against Brand-Name       Territories, Except
                             and Generic Manufacturer Defendants)                DE, IA, MA, NC,
                                                                                 PA, and VA
                VIII         Negligent Failure to Test (Against Brand-Name       KS, TX
                             and Generic Manufacturer Defendants)



                                                       4
Case 1:22-cv-21592-RLR Document 1 Entered on FLSD Docket 05/23/2022 Page 5 of 6

               IX     Negligent Product Containers: (Against Brand-             All States and
                      Name and Generic Manufacturers of pills)                  Territories


               X      Negligent Storage and Transportation Outside the          All States and
                      Labeled Range (Against All Retailer and                   Territories
                      Distributor Defendants)

               XI     Negligent Storage and Transportation Outside the          All States and
                      Labeled Range (Against All Brand-Name and                 Territories
                      Generic Manufacturer Defendants)

              XII     Negligent Misrepresentation (Against Brand-               CA only
                      Name Manufacturers by Generic Consumers in
                      California)

              XIII    Reckless Misrepresentation (Against Brand-Name            MA only
                      Manufacturers by Generic Consumers in
                      Massachusetts)

              XIV     Unjust Enrichment (Against All Defendants)                All States and
                                                                                Territories


              XV      Loss of Consortium (Against All Defendants)               All States and
                                                                                Territories


              XVI     Wrongful Death (Against All Defendants)                   All States and
                                                                                Territories




        If Count XV or Count XVI is alleged, additional facts supporting the claim(s):
        ______________________________________________________________________________________
        ______________________________________________________________________________________
        ______________________________________________________________________________________

                                        V.     JURY DEMAND

           15. Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.

                                  VI.        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

 inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

                                                   5
Case 1:22-cv-21592-RLR Document 1 Entered on FLSD Docket 05/23/2022 Page 6 of 6

 action, jointly and severally to the full extent available in law or equity, as requested in the

 Amended Master Personal Injury Complaint.



        DATED: 23rd day of May, 2022                     Respectfully Submitted,

                                                         ___/s/Rachal G. Rojas_____________
                                                         Rachal G. Rojas
                                                         Miller & Associates PLLC
                                                         2610 W. Sam Houston Pkwy S.
                                                         Suite 200
                                                         Houston, TX 77042
                                                         (P) 713.850.8600
                                                         rarojas@dmillerlaw.com

                                                         Counsel for Plaintiff




                                                6
